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NORTHERN DISTRICT OF ILLINOIS 40g s I-25 QO
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7/30/09 Ric Sly
f (Op,
MICHAEL W. DCOBBINS OFFICE OF THE CLERK
Clerk of Court
Eastern District of Michigan
Mr. David J, Weaver = .
Clerk/Court Administrator mo BS Lege:
United States District Court Se —. sa
Theodore Levin United States Courthouse S eS =
231 West Lafayette Boulevard, Room 814 . aaa Sy
Detroit, MI 48226 4 “3 po
Re: USA v. Javier Gonzalez-Loza os om A
Case: 09 CR 629-1 oe o

Dear Clerk of Court:

Enclosed please find the certified copy of the docket entries in connection with removal proceedings
conducted in this District regarding the above named defendant.

As of January 18, 2005 for civil and criminal cases, our court uses electronic case filing. You may access
our electronic case file and print copies of electronically filed documents by following the procedures on
the attached Instruction Sheet. You will need Adobe Acrobat reader loaded on your computer in order
to view the documents. If you ate an electronic court, you may upload the documents. Please DO NOT
MAKE THE ENCLOSED INSTRUCTION SHEET A PART OF THE OFFICIAL RECORD
as it contains your login and password to our system. This login and password should not be shared with

anyone other than federal court personnel who would have a need to access out electronic case file
system.

All documents filed prior to electronic filing are included in this transfer package.

Subsequent paper documents filed after 1/18/05 are also included:
(List document numbers)

Please acknowledge receipt of the above documents on the enclosed copy of this letter.

Sincerely yours,

Mibhael W. Dobbins, Clerk

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Deputy Clerk

 

 

 
